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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

Maxum Indemnity Company,                           )
                                                   )   CIVIL ACTION FILE
        Plaintiff,                                 )   NO. 1:18-CV-01236-WSD
                                                   )
vs.                                                )
                                                   )
Colliers International - Atlanta, LLC,             )
Alexander Deitch, and Mattress Firm, Inc.          )
                                                   )
         Defendants.                               )

         AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

        COMES NOW, Plaintiff Maxum Indemnity Company (o'Maxum") and

petitions this Court for a declaration that Maxum          is not required to provide
professional    liability insurance coverage to Defendant Colliers International    -
Atlanta, LLC, including but not limited to any and all of Defendant Colliers

International Atlanta, LLC's past and current employee(s) or                officer(s)

(collectively "Colliers International"), and Defendant Alexander Deitch ("Deitch")

for claims asserted against Colliers International and Deitch by Mattress Firm, Inc

(ooMattress   Firm"), stating   as follows:

                           PRELIMINARY STATEMENT

                                              1.

        This is an action for declaratory judgment brought pursuant to            the

Declaratory Judgment Act, 28 U.S.C. g 2201 and Rule 57 of the Federal Rules of

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Civil Procedure to determine an actual case or controversy regarding      a   professional

liability insurance policy between Maxum, Colliers International, and Deitch.

                                        2.

         A controversy of a judicial nature presently exists among the parties, which

demands a declaration by this Court in order that Maxum may have its rights and

duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.

                                      PARTIES

                                        3.

         Maxum is, and was at all relevant times to this Amended Complaint,              a

Connecticut corporation registered and authorized to conduct business in Georgia

with its principle place of business in Hartford, Connecticut. By bringing this

action, it avails itself to the venue and jurisdiction of this Honorable Court.

                                        4.

         Colliers International is, and was at all relevant times to this Amended

Complaint,     a   Georgia corporation incorporated, registered and authorized to

conduct business      in Georgia with its principle    place   of   business   in Atlanta,
Georgia.

                                        5.

         Colliers International may be served through           its   registered agent,

                                             2

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Corporation Service Company, 40 Technology Parkway South, #300 Norcross,

Georgia,30092.

                                             6.

            Deitch is, and was at all relevant times to this Amended Complaint,           a

resident of Atlanta, Georgia, and domiciled in Atlanta, Georgia.

                                             7.

            Upon information and belief Dietch may be served at 3344 Peachtree Road

NE, Unit 3405, Atlanta, Georgia 30326.

                                             8.

            Mattress Firm is joined as a defendant on the basis that it is an indispensable

party under Fed. R. Civ. P. 19(a).

                                             9

            Mattress Firm is, and was at all relevant times to this Amended Complaint, a

Delaware corporation          with its principal place of business located in     Houston,

Texas.

                                             10.

            Mattress Firm may be served through its registered agent, CT Corporation

System,289 S. Culver Street, Lawrenceville, GA, 30046.




                                                  3

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                           JURISDICTION AND VENUE

                                          11.

        This   is an action for     declaratory judgment brought pursuant       to   the

Declaratory Judgment Act, 28 U.S.C. g 2201 and Rule 57 of the Federal Rules of

Civil Procedure to determine an actual case or controversy regarding     a professional


liability insurance between Maxum, Colliers International, and Deitch                 as


hereinafter more fully appears.

                                          L2.

        This action is ripe for adjudication.

                                          13.

        This Court has jurisdiction over this action pursuant to 28 U.S.C. $ 1332 in

that the controversy is between citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

                                          t4.

        This Court may exercise personal jurisdiction over all of the parties joined in

this action

                                          15.

        Venue is proper in this Court pursuant to 28 U.S.C. $ 1391(b) because at

least one Defendant is a resident or is domiciled in the county in which this district

court is located

                                                4

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                             THE INSURANCE POLICY

                                          16.

        Maxum issued a professional liability policy, policy number PFP-6023915-

02, to Colliers International and additional insureds, including but not limited to

Deitch, for an initial period of January I , 2015 to January | , 2016, wherein Maxum

would provide insurance coverage for errors and omissions                 by    Colliers

International and its additional insureds, including but not limited to Deitch, in the

performance    of   services as   a real estate agent, real estate broker, real estate
personal assistant, real estate property management, mortgage broker (including

loan servicing), and for construction and project management services for others

for a fee ("Insurance Policy"). A true and correct copy of the Insurance Policy is

attached hereto as Exhibit   "A."

                                          17.

        The Insurance Policy is a o'claims made and reported" policy, meaning that a

"claim" for "damages" because of the rendering              of or   failure   to render
"professional services" must be reported to Maxum before the end of the reporting

period in order for insurance coverage to be provided by Maxum to Colliers

International and its additional insureds, including but not limited to Deitch. Id.

                                          18.

        Colliers International purchased a supplemental extended reporting period

                                            5

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from February   I, 2016 to February l,   2077   . Id.
                                         t9.

        Pursuant   to the supplemental    extended reporting requirements, Colliers

International and its additional insureds, including but not limited to Deitch, had

through February 1,2017, to report any claims to Maxum under the Insurance

Policy.

                                         20.

        The Insurance Policy contains several relevant exclusions to providing

commercial general liability coverage.

                                         21.

        The Insurance Policy does not apply to "any dishonest, fraudulent, criminal

or malicious act or omission by any 'insured' or at the direction of any "insured."

Id., at Form P056 (08/11) at Section I.2.B.

                                         22.

        The Insurance Policy does not apply to "any gain, profit or advantage to

which the insured is not legally entitled," "any transaction in which any Insured

has a direct or indirect beneficial ownership interest as a buyer or seller of real

property...," or "management of property that is owned by a firm in which any

insured has a financial interest or by a firm under the same financial contract   as


your business." Id., at Endorsement 8064 (llll2009).

                                            6

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                                        23.

        The Insurance Policy does not apply to any claims arising out of any acts or

omissions which are excluded under the Insurance Policy

                                        24.

        The Insurance Policy does not apply to ooany 'claim' or 'suit' demanding

punitive, exemplary or multiple odamages' ('damages' as               a   means of

punishment)..." Id., at Form P056 (08/11) at Section I.2.O.

                      HISTORY OF' CLAIM REPORTING

                                        25.

        Colliers International and Deitch seek coverage, including a defense and

indemnity, under the Insurance Policy for the claims asserted by Mattress Firm in   a


lawsuit filed by Mattress Firm against numerous defendants, including but not

limited to Colliers International and Deitch, in Harris County, Texas, Case No.

2017 -731 1 96 ("Underlying Lawsuit")

                                        26.

        In a letter dated March 30, 2016, Mattress Firm advised Colliers
International   of a potential lawsuit against Colliers International. A true   and

correct copy of the March 30,20l6,Letter is attached hereto as Exhibit "B."

                                        27.

        Colliers International did not report the potential claim made in the March

                                          7

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30,2076, to Maxum until June 29,2017, after the extended reporting period.

                                        28.

         After receiving notice of the claim and request for coverage from Colliers

International, Maxum, through its under signed counsel, issued a reservation of

rights letter to Colliers International in which Maxum provided notice of its

reservation of rights to contest coverage under the Insurance Policy for the claims

in the Underlying Lawsuit. A true and correct copy of the reservation of rights

letter is attached hereto as Exhibit "C."

                                        29.

         On March 15, 2018, Deitch, through his counsel, transmitted a letter to

Maxum seeking *any and all coverage benefits to which he is entitled under the

policy including the payment of defense costs and the payment of any judgment

that may be entered against     him."       Deitch claims that he was only "recently

informed by Colliers [Intemational] about the existence of the above policy, and he

has promptly acted to comply    with any duties that he may have under the policy."

A true and correct copy of the March 15,2018, Letter is attached hereto as Exhibit
((D.rt


                                        30.

         The Insurance Policy issued by Maxum does not afford coverage for the

claims and damages asserted in the Underlying Lawsuit. Therefore, Maxum has

                                             8

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no duty to defend or indemnify Colliers International or Deitch in a lawsuit filed

by Mattress Firm against Colliers International, Deitch, and other defendants.

                 ALLEGATIONS IN UNDERLYING LAWSUIT

                                       31.

         On October 30, 2017, Mattress Firm filed a formal Complaint in            the

Underlying Lawsuit, which initiated the lawsuit against numerous defendants,

including but not limited to Colliers International and   Deitch. A true and correct

copy of the Complaint in the Underlying Lawsuit is attached hereto as Exhibit "E."

                                       32.

        On December 19,2017, an Amended Complaint in the Underlying Lawsuit

was filed against numerous defendants, including but not limited to Colliers

International and Deitch. A true and correct copy of the Amended Complaint in

the Underlying Lawsuit is attached hereto as Exhibit "F."

                                       33.

        In the Amended Complaint in the Underlying Lawsuit, Mattress Firm asserts

numerous allegations against defendants, including but not limited       to   Colliers

International and Deitch, on the basis that the defendants engaged in a massive,

nationwide, multi-year fraud, bribery, and kickback scheme related to real estate

brokerage services. Id.




                                         9

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                                             34.

            In the Amended Complaint in the Underlying Lawsuit, Mattress Firm makes

numerous allegations against Colliers International and Deitch entailing fraudulent

and self-serving activities, including but not limited to:

            a.    Providing payments (including offering, arranging, and making

                  payments) of bribes and kickbacks to employees of Mattress Firm in

                  exchange   for retention of Colliers     International and Deitch, and

                  growing their relationship.

            b.    Providing falsely optimistic sales forecasts to maximize opening of

                  stores and to   justify above-market rents and longer least terms to co-

                  defendant developers in order to generate commission for each lease

                  entered into    by Mattress Firm and to increase property value for

                  subsequent sale of the property

            c.    Misrepresenting projected per store sales

            d.    Engaging in conflict of interest transactions.

            e.    Knowing of and allowing "phony" and "bogus" development             and

                  brokerage fees to be charged to developers.

            f.    Allowing and assisting secretly held interests in properties that would

                  become Mattress Firm stores.

            g.    Concealing such fraudulent activities.

                                                l0

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         h.   Providing bribes and holding equity interests      in   other   business

              ventures with participating Mattress Firm employees or officers.

         i.   Directing developers to not provide detailed budgets to Mattress Firm

              in order to hide hidden fees or kickbacks.

         j.   Being offered lucrative investment opportunities by co-defendant

              developers and being engaged in commercial bribery.

         k.   Expressly and fully authorizing such actions and ratifying the actions

              and representations of Deitch, or implicitly ratifying the actions and

              representations of Deitch. Id.

                                        35.

         In the Underlying Lawsuit, Mattress Firm brings seven causes of         action

against Colliers International and/or Deitch, including:

         a.   Fraud;

         b.   Civil Conspiracy;

         c.   Constructive Trust;

         d.   Unjust Enrichment;

         e.   Aiding and Abetting Breach of Fiduciary Duty;

         f.   Negligence; and

         o    Exemplary Damages. Id.
         b'




                                           l1

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                                         36.

        In its Prayer for Relief in the Underlying Lawsuit, Mattress Firm         seeks

judgment against Colliers International andlor Alexander Deitch, including

         a,   Actual damages;

         b.   A constructive trust;

         c.   Disgorgement of ill-gotten gain;

         d.   Appropriate equitable relief;

         e.   Exemplary damages;

         f.   Prejudgment interest;

         o
         b.   Post-judgment interest;

        h.    All recoverable costs; and

              Such other and further relief; general and special, legal and equitable,

              to which Mattress Firm may show itself to be justly entitled. Id.


 Nocov'RAc;33iliiifi'"lf ffi                    3'i:'J,?'f.Y#SFREpoRrrNG
                                        PERIOD

                                         37.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs      I through 36 of this Amended Complaint for
Declaratory Judgment as though set forth fully herein.




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                                          38.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage to Colliers Atlanta or Deitch, including          a   defense   to   the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, or for any damages

related      to the Underlying Lawsuit   because neither Colliers Atlanta nor Deitch

timely reported any claim pursuant to the Insurance Policy

                                          39.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured under Insurance Policy, including but not limited to any past and

current employee(s) and offrcer(s), for any and all claims and causes       of   action

brought by Mattress Firm because neither Colliers Atlanta, Deitch, nor any other

additional insured under the Insurance Policy timely reported any claim pursuant to

the Insurance Policy.

             COUNT II: DECLARATORY JUDGMENT
       NO COVERAGE UNDER FORM P0s6 (08/11): DISHONEST'
     FRAUDULENT' CRIMINAL OR MALICIOUS ACT OR OMISSION

                                          40.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 39 of this Amended Complaint for

Declaratory Judgment as though set forth fully herein.

                                            l3

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                                        4L.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage     to Colliers Atlanta or Deitch, including a defense to the
Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any damages

related to the Underlying Lawsuit because Form P056 (08/11)          of the Insurance

Policy excludes "any dishonest, fraudulent, criminal or malicious act or omission

by any 'insured' or at the direction of any ooinsured." See Exhibit A.

                                        42.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for any and all claims and causes of action brought by Mattress Firm

                                                                     o'any dishonest,
because Form P056 (08/11)         of the Insurance Policy excludes

fraudulent, criminal   or malicious act or omission by any 'insured' or at the
direction of any "insured." Id.

                  COUNT III: DECLARATORY JUDGMENT
             NO COVERAGE UNDER ENDORSEMENT E064 (l/t/2009)

                                        43.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs    I through 42 of this Amended Complaint      for

Declaratory Judgment as though set forth fully herein.
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                                         44.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage     to Colliers Atlanta or Deitch,    including   a   defense   to   the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any damages

related to the Underlying Lawsuit because Endorsement 8064         (llll2009) of the

Insurance Policy excludes "any gain, profit or advantage to which the insured is

not legally entitled," o'any transaction in which any Insured has a direct or indirect

beneficial ownership interest as     a   buyer   or seller of real property...,"       or

"management     of property that is owned by a firm in which any insured         has a

financial interest or by a firm under the same financial contract as your business."

Id

                                         45.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for any and all claims and causes of action brought by Mattress Firm

because Endorsement E064 (11112009) of the Insurance Policy excludes "any gain,

profit or advantage to which the insured is not legally entitled," "any transaction in

which any Insured has a direct or indirect beneficial ownership interest as a buyer

or seller of real property...," or "management of property that is owned by a firm

                                           l5

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in which any insured has a frnancial interest or by a firm under the same financial

contract as your business." Id.

                  COUNT IV: DECLARATORY JUDGMENT
                 NO COVERAGE FOR NEGLIGENCE CLAIM

                                        46.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 45 of this Amended Complaint for

Declaratory Judgment as though set forth fully herein.

                                        47.

        Maxum has no obligation to provide coverage to Colliers Atlanta, including

a defense to the Underlying Lawsuit or to indemniff Colliers Atlanta, for the

Negligence claim against Colliers Atlanta because such claim arises out of acts

andlor omissions excluded under the Insurance Policy.

                                       48.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta and any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for the Negligence claim against Colliers Atlanta because such

claim arises out of acts and/or omissions excluded under the Insurance Policy.




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           COUNT V: DECLARATORY JUDGMENT
 NO COVERAGE UNDER FORM P056 (08/11): EXEMPLARY DAMAGES

                                         49.

         Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 48 of this Amended Complaint for

Declaratory Judgment as though set forth fully herein.

                                         50.

         Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage      to   Colliers Atlanta or Deitch, including a defense to the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any exemplary

damages because exemplary damages are excluded under the Insurance Policy

                                        51.

         Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured under Insurance Policy, including but not limited to any past and

current employee(s)     or officer(s), for any cause of action seeking    exemplary

damages by Mattress Firm because exemplary damages are excluded under the

Insurance Policy. Id.

                               PRAYER FOR RELIEF

        WHEREFORE, Maxum prays :

        (a)    That Colliers International appear as provided by law to Answer this
                                           l7
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               Amended Complaint for Declaratory Judgment;

         (b)   That Deitch appear as provided by law to Answer this Amended

               Complaint for Declaratory Judgment;

         (c)   That summons be issued requiring Mattress Firm appear as provided

               by law to Answer this Amended Complaint for Declaratory Judgment;

         (d)   That the Court determine that Maxum does not have a duty to provide

               liability insurance coverage to Colliers International under           the

               Insurance Policy;

         (e)   That the Court determine that Maxum does not have a duty to provide

               liability insurance coverage to Deitch under the Insurance Policy;

         (f)   That the Court determine that Maxum does not have a duty to provide

               liability insurance coverage to any other additional insured, including

               but not limited to past and current employee(s) and officer(s), of

               Colliers International, under the Insurance Policy;

         (g)   Any and such other and further relief this Court deems just a proper




         Respectfully submitted this 30th day of May, 2018




                                [signature on next page]

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                                        WILSON, ELSER, MOSKOWTTZ,
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                                        Company




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                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

Maxum Indemnity Company,                          )
                                                  )   CNIL ACTION FILE
        Plaintiff,                                )   NO. 1:18-CV-01236-WSD
                                                  )
VS                                                )
                                                  )
Colliers International - Atlanta, LLC,            )
Alexander Deitch, and Mattress Firm, Inc.         )
                                                  )
         Defendants.                              )

     CERTIF'ICATE OF' COMPLIANCE WITH TYPE REOIIIREMENTS

         The parties hereby certify that the foregoing has been prepared using Times

New Roman l4-point font as required by Local Rule 5.1C.

                                                WILSON, ELSER, MOSKOWTTZ,
                                                EDELMAN & DICKER LLP

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                                                Company




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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

Maxum Indemnity Company,                         )
                                                 )   CNIL ACTION FILE
        Plaintiff,                               )   NO. 1 :18-CV-01236-WSD
                                                 )
VS                                               )
                                                 )
Colliers International - Atlanta, LLC,           )
Alexander Deitch, and Mattress Firm, Inc.        )
                                                 )
         Defendants                              )


                             CERTIFICATE OF SERVICE

         Counsel for Plaintiff Maxum Indemnity Company hereby certifies that the

foregoing AMENDED COMPLAINT was electronically filed with the Court on

May 30, 2018, using the CIWECF system, which will electronically serve all

counsel of record in this matter.

         Counsel     for Plaintiff Maxum Indemnity Company also certifies that the

foregoing AMENDED COMPLAINT was served on the registered agent for

Defendant Mattress Firm, Inc., CT Corporation System, 289 S. Culver Street,

Lawrenceville, GA, 3004 6, via hand delivery by      a process server


         Respectfully submitted this 30th day of May, 2018.

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                                           WILSON, ELSER, MOSKOWTTZ,
                                           EDELMAN & DICKER LLP

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